                  Case 20-33948 Document            Filed in TXSB on 07/06/21 Page 1 of 18




                           IN THE UNITED STATES BANKRUPTCY COURT                                                  ENTERED
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                                   07/06/2021
                                      HOUSTON DIVISION

                                                                )
    In re:                                                      )
                                                                ) Chapter 11
    NEIMAN MARCUS GROUP LTD LLC, et al., 1                      )
                                                                ) Case No. 20-32519 (DRJ)
                       Reorganized Debtors.                     )
                                                                ) (Jointly Administered)
                                                                )

                         ORDER SUSTAINING LIQUIDATING TRUSTEE’S
                  NINTH OMNIBUS OBJECTION TO CLAIMS (RESOLVED CLAIMS)

                                           [Related Docket No. 2456]

             Upon the Objection2 of the Liquidating Trustee seeking entry of an order (this “Order”)

disallowing and expunging the claims identified on Schedule 1 attached hereto, it is HEREBY

ORDERED THAT:

             1.       The Objection is sustained as set forth herein.

             2.       Each claim identified on Schedule 1 to this Order is disallowed in its entirety.

             3.       The hearing on the Objection as it relates to the claims identified on Schedule 2 is

hereby adjourned to a later date to be determined.



1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530);
      Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa
      Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation
      (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc.
      (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG
      Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons
      LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The
      Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company
      (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
      Trustee’s Ninth Omnibus Objection to Claims (Resolved Claims).

                                                         -1-
            Case 20-33948 Document          Filed in TXSB on 07/06/21 Page 2 of 18




       4.       Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

       5.       Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

       6.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any party’s

right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any

prepetition claim; (d) an implication or admission that any particular claim is of a type specified

or defined in this Objection or any order granting the relief requested by this Objection; (e) a

request or authorization to assume any prepetition agreement, contract, or lease pursuant to section

365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

       7.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.



                           [Remainder of Page Intentionally Left Blank]




                                                 -2-
            Case 20-33948 Document          Filed in TXSB on 07/06/21 Page 3 of 18




       8.       The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

       9.       This Court shall retain exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

 Houston, Texas
  Signed: July 01, 2021.
 Date:                                   , 2021

                                                  ____________________________________
                                                      THE HONORABLE DAVID R. JONES
                                                  DAVID R. JONES
                                                      CHIEF UNITED STATES BANKRUPTCY
                                                  UNITED  STATES
                                                      JUDGE      BANKRUPTCY JUDGE




                                                  -3-
Case 20-33948 Document   Filed in TXSB on 07/06/21 Page 4 of 18




                         Schedule 1

                 Sustained Claim Objections
            Case 20-33948 Document            Filed in TXSB on 07/06/21 Page 5 of 18
                                             Schedule 1


Ref     Name of                     Schedule          Scheduled Claim to be           Reason for
                     Debtor Name
 #      Claimant                       #                   Disallowed                 Objection
                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      1125 GLOBE                                                                  liable because the
 1                   Marcus Group   219314       General Unsecured: $55,013.92
      AVENUE LLC                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $55,013.92

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
      4676           The Neiman                  Priority: $0.00
                                                                                  liable because the
 2    WESTCHESTER    Marcus Group   219330       General Unsecured: $10,428.45
                                                                                  claim has been
      MALL LLC       LLC
                                                                                  resolved
                                                 Total: $10,428.45

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      4692 SPG                                                                    liable because the
 3                   Marcus Group   219331       General Unsecured: $342,651.99
      CENTER LLC                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $342,651.99

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
 4    ACTIONIQ       Marcus Group   219364       General Unsecured: $84,500.00
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $84,500.00

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                    The Neiman                   Priority: $0.00
      ALIGHT                                                                      liable because the
 5                  Marcus Group    219405       General Unsecured: $435,841.09
      SOLUTIONS LLC                                                               claim has been
                    LLC
                                                                                  resolved
                                                 Total: $435,841.09

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      ARANDELL                                                                    liable because the
 6                   Marcus Group   219478       General Unsecured: $224,018.20
      CORPORATION                                                                 claim has been
                     LLC
                                                                                  resolved
                                                 Total: $224,018.20

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
 7    BLUECORE INC   Marcus Group   219643       General Unsecured: $53,299.17
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $53,299.17

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                  The Neiman                     Priority: $0.00
      BROWSERSTAC                                                                 liable because the
 8                Marcus Group      219698       General Unsecured: $2,750.56
      K INC                                                                       claim has been
                  LLC
                                                                                  resolved
                                                 Total: $2,750.56



                                                -1-
            Case 20-33948 Document             Filed in TXSB on 07/06/21 Page 6 of 18
                                              Schedule 1


Ref     Name of                      Schedule          Scheduled Claim to be           Reason for
                      Debtor Name
 #      Claimant                        #                   Disallowed                 Objection
                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      BULKLEY                                                                      liable because the
 9                    Marcus Group   219713       General Unsecured: $169,240.70
      DUNTON                                                                       claim has been
                      LLC
                                                                                   resolved
                                                  Total: $169,240.70

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
      CGS          The Neiman                     Priority: $0.00
                                                                                   liable because the
10    PUBLISHING   Marcus Group      219797       General Unsecured: $7,989.42
                                                                                   claim has been
      TECHNOLOGIES LLC
                                                                                   resolved
                                                  Total: $7,989.42

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                   The Neiman                     Priority: $0.00
      CLEAR                                                                        liable because the
11                 Marcus Group      219872       General Unsecured: $173,265.49
      TECHNOLOGIES                                                                 claim has been
                   LLC
                                                                                   resolved
                                                  Total: $173,265.49

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
      CORAL           The Neiman                  Priority: $0.00
                                                                                   liable because the
12    COMMERCIAL      Marcus Group   219923       General Unsecured: $11,981.72
                                                                                   claim has been
      CENTER          LLC
                                                                                   resolved
                                                  Total: $11,981.72

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      CULLUM                                                                       liable because the
13                    Marcus Group   219973       General Unsecured: $8,406.00
      THOMAS                                                                       claim has been
                      LLC
                                                                                   resolved
                                                  Total: $8,406.00

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
      CUSTOM        The Neiman                    Priority: $0.00
                                                                                   liable because the
14    STAFFING      Marcus Group     219978       General Unsecured: $11,243.65
                                                                                   claim has been
      SOLUTIONS LLC LLC
                                                                                   resolved
                                                  Total: $11,243.65

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
      EASTWIND        The Neiman                  Priority: $0.00
                                                                                   liable because the
15    ORIENTIAL RUG   Marcus Group   220138       General Unsecured: $364.36
                                                                                   claim has been
      CARE INC        LLC
                                                                                   resolved
                                                  Total: $364.36




                                                 -2-
             Case 20-33948 Document           Filed in TXSB on 07/06/21 Page 7 of 18
                                             Schedule 1


Ref     Name of                     Schedule          Scheduled Claim to be          Reason for
                     Debtor Name
 #      Claimant                       #                   Disallowed                Objection
                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                     The Neiman                  Priority: $0.00
      EMC                                                                        liable because the
16                   Marcus Group   220182       General Unsecured: $93,050.69
      CORPORATION                                                                claim has been
                     LLC
                                                                                 resolved
                                                 Total: $93,050.69

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                    The Neiman                   Priority: $0.00
      ESRP ADVISORY                                                              liable because the
17                  Marcus Group    220206       General Unsecured: $15,357.80
      DALLAS LLC                                                                 claim has been
                    LLC
                                                                                 resolved
                                                 Total: $15,357.80

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                     The Neiman                  Priority: $0.00
      FIRST DATA                                                                 liable because the
18                   Marcus Group   220275       General Unsecured: $64,760.56
      CORPORATION                                                                claim has been
                     LLC
                                                                                 resolved
                                                 Total: $64,760.56

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                 liable because the
19    GOTWWW LLC     Marcus Group   220421       General Unsecured: $3,035.00
                                                                                 claim has been
                     LLC
                                                                                 resolved
                                                 Total: $3,035.00

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                 liable because the
20    GOYARD INC     Marcus Group   220427       General Unsecured: $33,403.00
                                                                                 claim has been
                     LLC
                                                                                 resolved
                                                 Total: $33,403.00

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                 liable because the
21    HANGER CORP    Marcus Group   220479       General Unsecured: $13,237.36
                                                                                 claim has been
                     LLC
                                                                                 resolved
                                                 Total: $13,237.36

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                 The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                 liable because the
22    HYPR           Marcus Group   220568       General Unsecured: $6,000.00
                                                                                 claim has been
                     LLC
                                                                                 resolved
                                                 Total: $6,000.00




                                                -3-
            Case 20-33948 Document              Filed in TXSB on 07/06/21 Page 8 of 18
                                               Schedule 1


Ref      Name of                      Schedule          Scheduled Claim to be           Reason for
                       Debtor Name
 #       Claimant                        #                   Disallowed                 Objection
                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
                       The Neiman                  Priority: $0.00
                                                                                    liable because the
23    INFOR (US) INC   Marcus Group   220598       General Unsecured: $182,877.40
                                                                                    claim has been
                       LLC
                                                                                    resolved
                                                   Total: $182,877.40

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
                       The Neiman                  Priority: $0.00
      INTELLICHECK                                                                  liable because the
24                     Marcus Group   220606       General Unsecured: $50,000.00
      INC                                                                           claim has been
                       LLC
                                                                                    resolved
                                                   Total: $50,000.00

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
                       The Neiman                  Priority: $0.00
      INTERTRADE                                                                    liable because the
25                     Marcus Group   220620       General Unsecured: $3,920.00
      SYSTEMS INC                                                                   claim has been
                       LLC
                                                                                    resolved
                                                   Total: $3,920.00

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
                       The Neiman                  Priority: $0.00
                                                                                    liable because the
26    IPPOLITA         Marcus Group   220622       General Unsecured: $1,338.65
                                                                                    claim has been
                       LLC
                                                                                    resolved
                                                   Total: $1,338.65

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
                     The Neiman                    Priority: $0.00
      JGK INDUSTRIES                                                                liable because the
27                   Marcus Group     220688       General Unsecured: $83,512.75
      LLC                                                                           claim has been
                     LLC
                                                                                    resolved
                                                   Total: $83,512.75

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
                       The Neiman                  Priority: $0.00
      JOHNSON                                                                       liable because the
28                     Marcus Group   220721       General Unsecured: $3,678.50
      CONTROLS                                                                      claim has been
                       LLC
                                                                                    resolved
                                                   Total: $3,678.50

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                    The Debtors are not
      JOHNSON       The Neiman                     Priority: $0.00
                                                                                    liable because the
29    CONTROLS FIRE Marcus Group      220722       General Unsecured: $4,936.22
                                                                                    claim has been
      PROTECTION LP LLC
                                                                                    resolved
                                                   Total: $4,936.22




                                                  -4-
            Case 20-33948 Document              Filed in TXSB on 07/06/21 Page 9 of 18
                                               Schedule 1


Ref     Name of                       Schedule          Scheduled Claim to be          Reason for
                       Debtor Name
 #      Claimant                         #                   Disallowed                Objection
                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                   The Debtors are not
                       The Neiman                  Priority: $0.00
                                                                                   liable because the
30    JONES DAY        Marcus Group   220735       General Unsecured: $14,087.50
                                                                                   claim has been
                       LLC
                                                                                   resolved
                                                   Total: $14,087.50

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                   The Debtors are not
      KAREN HARVEY The Neiman                      Priority: $0.00
                                                                                   liable because the
31    CONSULTING   Marcus Group       220767       General Unsecured: $67,052.84
                                                                                   claim has been
      SERVICES LLC LLC
                                                                                   resolved
                                                   Total: $67,052.84

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                   The Debtors are not
                       The Neiman                  Priority: $0.00
                                                                                   liable because the
32    KARTHIK, VIJAY   Marcus Group   220771       General Unsecured: $97.44
                                                                                   claim has been
                       LLC
                                                                                   resolved
                                                   Total: $97.44

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                   The Debtors are not
      KRK          The Neiman                      Priority: $0.00
                                                                                   liable because the
33    TECHNOLOGIES Marcus Group       220841       General Unsecured: $2,135.34
                                                                                   claim has been
      INC          LLC
                                                                                   resolved
                                                   Total: $2,135.34

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                   The Debtors are not
      LA CANTERA       The Neiman                  Priority: $0.00
                                                                                   liable because the
34    RETAIL LIMITED   Marcus Group   220849       General Unsecured: $6,413.84
                                                                                   claim has been
      PARTNERSHIP      LLC
                                                                                   resolved
                                                   Total: $6,413.84

                                                   Administrative: $0.00
                                                   Secured: $0.00
                                                                                   The Debtors are not
                       The Neiman                  Priority: $0.00
      LEE HECHT                                                                    liable because the
35                     Marcus Group   220911       General Unsecured: $96,000.00
      HARRISON LLC                                                                 claim has been
                       LLC
                                                                                   resolved
                                                   Total: $96,000.00

                                                   Administrative: $0.00
                                                   Secured: $0.00
      LEXISNEXIS                                                                   The Debtors are not
                       The Neiman                  Priority: $0.00
      RISK                                                                         liable because the
36                     Marcus Group   220925       General Unsecured: $3,536.99
      MANAGEMENT                                                                   claim has been
                       LLC
      INC                                                                          resolved
                                                   Total: $3,536.99




                                                  -5-
           Case 20-33948 Document            Filed in TXSB on 07/06/21 Page 10 of 18
                                             Schedule 1


Ref     Name of                     Schedule          Scheduled Claim to be           Reason for
                      Debtor Name
 #      Claimant                       #                   Disallowed                 Objection
                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
      LEXISNEXIS     The Neiman                  Priority: $0.00
                                                                                  liable because the
37    RISK SOLUTIONS Marcus Group   220926       General Unsecured: $11,942.22
                                                                                  claim has been
      FLORIDA INC    LLC
                                                                                  resolved
                                                 Total: $11,942.22

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      LIBERTY                                                                     liable because the
38                   Marcus Group   220929       General Unsecured: $15,379.20
      GREENLEAF                                                                   claim has been
                     LLC
                                                                                  resolved
                                                 Total: $15,379.20

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
39    LOCAL 210      Marcus Group   220957       General Unsecured: $2,668.00
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $2,668.00

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      LOOMIS FARGO                                                                liable because the
40                   Marcus Group   220970       General Unsecured: $1,133.05
      & COMPANY                                                                   claim has been
                     LLC
                                                                                  resolved
                                                 Total: $1,133.05

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      MAINETTI                                                                    liable because the
41                   Marcus Group   221026       General Unsecured: $1,140.48
      CANADA INC                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $1,140.48

                                                 Administrative: $0.00
                                                 Secured: $0.00
      MATRIX                                                                      The Debtors are not
                     The Neiman                  Priority: $0.00
      ABSENCE                                                                     liable because the
42                   Marcus Group   221083       General Unsecured: $152,841.78
      MANAGEMENT                                                                  claim has been
                     LLC
      INC                                                                         resolved
                                                 Total: $152,841.78

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                   The Neiman                    Priority: $0.00
      MCWILLIAMS                                                                  liable because the
43                 Marcus Group     221103       General Unsecured: $6,500.00
      GOVERNMENTAL                                                                claim has been
                   LLC
                                                                                  resolved
                                                 Total: $6,500.00




                                                -6-
           Case 20-33948 Document             Filed in TXSB on 07/06/21 Page 11 of 18
                                              Schedule 1


Ref     Name of                      Schedule          Scheduled Claim to be           Reason for
                      Debtor Name
 #      Claimant                        #                   Disallowed                 Objection
                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      MICROSOFT                                                                    liable because the
44                    Marcus Group   221150       General Unsecured: $389,442.35
      ONLINE INC                                                                   claim has been
                      LLC
                                                                                   resolved
                                                  Total: $389,442.35

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      MISSION LINEN                                                                liable because the
45                    Marcus Group   221170       General Unsecured: $7,645.03
      SUPPLY                                                                       claim has been
                      LLC
                                                                                   resolved
                                                  Total: $7,645.03

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      NAHAN                                                                        liable because the
46                    Marcus Group   221232       General Unsecured: $25,384.08
      PRINTING INC                                                                 claim has been
                      LLC
                                                                                   resolved
                                                  Total: $25,384.08

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
                                                                                   liable because the
47    NARVAR INC      Marcus Group   221245       General Unsecured: $81,665.76
                                                                                   claim has been
                      LLC
                                                                                   resolved
                                                  Total: $81,665.76

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      NCR                                                                          liable because the
48                    Marcus Group   221258       General Unsecured: $9,588.35
      CORPORATION                                                                  claim has been
                      LLC
                                                                                   resolved
                                                  Total: $9,588.35

                                                  Administrative: $0.00
                                                  Secured: $0.00
      NEW YORK-NEW                                                                 The Debtors are not
                     The Neiman                   Priority: $0.00
      JERSEY                                                                       liable because the
49                   Marcus Group    221272       General Unsecured: $2,481.60
      REGIONAL JOINT                                                               claim has been
                     LLC
      BOARD                                                                        resolved
                                                  Total: $2,481.60

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
      NORTHPARK       The Neiman                  Priority: $0.00
                                                                                   liable because the
50    MERCHANT        Marcus Group   221298       General Unsecured: $50,282.94
                                                                                   claim has been
      ASSOC INC       LLC
                                                                                   resolved
                                                  Total: $50,282.94




                                                 -7-
           Case 20-33948 Document             Filed in TXSB on 07/06/21 Page 12 of 18
                                              Schedule 1


Ref     Name of                      Schedule          Scheduled Claim to be             Reason for
                      Debtor Name
 #      Claimant                        #                   Disallowed                   Objection
                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                     The Debtors are not
                      The Neiman                  Priority: $0.00
      NORTHPARK                                                                      liable because the
51                    Marcus Group   221299       General Unsecured: $2,231,881.22
      PARTNERS LP                                                                    claim has been
                      LLC
                                                                                     resolved
                                                  Total: $2,231,881.22


                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                     The Debtors are not
                      The Neiman                  Priority: $0.00
                                                                                     liable because the
52    NPO 1495 LP     Marcus Group   221302       General Unsecured: $2,610.74
                                                                                     claim has been
                      LLC
                                                                                     resolved
                                                  Total: $2,610.74

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                     The Debtors are not
                      The Neiman                  Priority: $0.00
      ONE VISION                                                                     liable because the
53                    Marcus Group   221340       General Unsecured: $5,562.45
      SOLUTIONS                                                                      claim has been
                      LLC
                                                                                     resolved
                                                  Total: $5,562.45

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                     The Debtors are not
                      The Neiman                  Priority: $0.00
      PACIFIC PLACE                                                                  liable because the
54                    Marcus Group   221384       General Unsecured: $1,575.00
      SITE LLC                                                                       claim has been
                      LLC
                                                                                     resolved
                                                  Total: $1,575.00

                                                  Administrative: $0.00
                                                  Secured: $0.00
      PLAZA                                                                          The Debtors are not
                      The Neiman                  Priority: $0.00
      FRONTENAC                                                                      liable because the
55                    Marcus Group   221473       General Unsecured: $6,296.11
      ACQUISITION                                                                    claim has been
                      LLC
      LLC                                                                            resolved
                                                  Total: $6,296.11

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                     The Debtors are not
      PREMIUM         The Neiman                  Priority: $0.00
                                                                                     liable because the
56    OUTLET          Marcus Group   221503       General Unsecured: $63,576.64
                                                                                     claim has been
      PARTNERS LP     LLC
                                                                                     resolved
                                                  Total: $63,576.64

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                     The Debtors are not
                      The Neiman                  Priority: $0.00
      PRESENTATION                                                                   liable because the
57                    Marcus Group   221504       General Unsecured: $5,073.00
      BOX & DISPLAY                                                                  claim has been
                      LLC
                                                                                     resolved
                                                  Total: $5,073.00




                                                 -8-
           Case 20-33948 Document            Filed in TXSB on 07/06/21 Page 13 of 18
                                             Schedule 1


Ref     Name of                     Schedule          Scheduled Claim to be           Reason for
                     Debtor Name
 #      Claimant                       #                   Disallowed                 Objection
                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
58    PROLOGIS       Marcus Group   221519       General Unsecured: $21,733.64
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $21,733.64

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
      PROOFPOINT                                                                  liable because the
59                   Marcus Group   221521       General Unsecured: $103,615.20
      INC                                                                         claim has been
                     LLC
                                                                                  resolved
                                                 Total: $103,615.20

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                    The Neiman                   Priority: $0.00
      RIVERON                                                                     liable because the
60                  Marcus Group    221622       General Unsecured: $179,351.18
      CONSULTING LP                                                               claim has been
                    LLC
                                                                                  resolved
                                                 Total: $179,351.18

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
61    ROCKBOT INC    Marcus Group   221638       General Unsecured: $2,465.50
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $2,465.50

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
62    ROUSE FS LLC   Marcus Group   221660       General Unsecured: $382,255.24
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $382,255.24

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
      S WALTER       The Neiman                  Priority: $0.00
                                                                                  liable because the
63    PACKAGING      Marcus Group   221689       General Unsecured: $4,680.00
                                                                                  claim has been
      CORP           LLC
                                                                                  resolved
                                                 Total: $4,680.00

                                                 Administrative: $0.00
                                                 Secured: $0.00
                                                                                  The Debtors are not
                     The Neiman                  Priority: $0.00
                                                                                  liable because the
64    SCANTEXAS      Marcus Group   221730       General Unsecured: $85,400.42
                                                                                  claim has been
                     LLC
                                                                                  resolved
                                                 Total: $85,400.42




                                                -9-
           Case 20-33948 Document             Filed in TXSB on 07/06/21 Page 14 of 18
                                              Schedule 1


Ref     Name of                      Schedule           Scheduled Claim to be         Reason for
                      Debtor Name
 #      Claimant                        #                    Disallowed               Objection
                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                  The Debtors are not
                      The Neiman                  Priority: $0.00
                                                                                  liable because the
65    SENDGRID INC    Marcus Group   221755       General Unsecured: $391.84
                                                                                  claim has been
                      LLC
                                                                                  resolved
                                                  Total: $391.84

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                  The Debtors are not
                      The Neiman                  Priority: $0.00
                                                                                  liable because the
66    SENSITECH INC   Marcus Group   221756       General Unsecured: $9,125.40
                                                                                  claim has been
                      LLC
                                                                                  resolved
                                                  Total: $9,125.40

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                  The Debtors are not
                      The Neiman                  Priority: $0.00
                                                                                  liable because the
67    SESAC INC       Marcus Group   221763       General Unsecured: $110.04
                                                                                  claim has been
                      LLC
                                                                                  resolved
                                                  Total: $110.04

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                  The Debtors are not
      SIGMA           The Neiman                  Priority: $0.00
                                                                                  liable because the
68    ENTERPRISES     Marcus Group   221787       General Unsecured: $533.25
                                                                                  claim has been
      LLC             LLC
                                                                                  resolved
                                                  Total: $533.25

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                  The Debtors are not
      SIGMA SUPPLY    The Neiman                  Priority: $0.00
                                                                                  liable because the
69    OF NORTH        Marcus Group   221788       General Unsecured: $1,941.60
                                                                                  claim has been
      AMERICA         LLC
                                                                                  resolved
                                                  Total: $1,941.60

                                                  Administrative: $0.00
                                                  Secured: $0.00
      SIMON                                                                       The Debtors are not
                      The Neiman                  Priority: $0.00
      MANAGEMENT                                                                  liable because the
70                    Marcus Group   221796       General Unsecured: $25,076.66
      ASSOCIATES II                                                               claim has been
                      LLC
      LLC                                                                         resolved
                                                  Total: $25,076.66

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                  The Debtors are not
      SLACK        The Neiman                     Priority: $0.00
                                                                                  liable because the
71    TECHNOLOGIES Marcus Group      221813       General Unsecured: $29,526.75
                                                                                  claim has been
      INC          LLC
                                                                                  resolved
                                                  Total: $29,526.75




                                                 -10-
           Case 20-33948 Document             Filed in TXSB on 07/06/21 Page 15 of 18
                                              Schedule 1


Ref     Name of                      Schedule           Scheduled Claim to be          Reason for
                      Debtor Name
 #      Claimant                        #                    Disallowed                Objection
                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      SM MOTOR                                                                     liable because the
72                    Marcus Group   221820       General Unsecured: $2,567.00
      SERVICE                                                                      claim has been
                      LLC
                                                                                   resolved
                                                  Total: $2,567.00

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
      SOMERSET        The Neiman                  Priority: $0.00
                                                                                   liable because the
73    COLLECTION      Marcus Group   221835       General Unsecured: $94,466.57
                                                                                   claim has been
      LTD PARTNERS    LLC
                                                                                   resolved
                                                  Total: $94,466.57

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      STONE BRIDGE                                                                 liable because the
74                    Marcus Group   221886       General Unsecured: $11,905.69
      PERSONNEL                                                                    claim has been
                      LLC
                                                                                   resolved
                                                  Total: $11,905.69

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                    The Neiman                    Priority: $0.00
                                                                                   liable because the
75    STRIBBONS INC Marcus Group     221892       General Unsecured: $1,721.25
                                                                                   claim has been
                    LLC
                                                                                   resolved
                                                  Total: $1,721.25

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                    The Neiman                    Priority: $0.00
                                                                                   liable because the
76    STYLESAGE INC Marcus Group     221902       General Unsecured: $100,000.00
                                                                                   claim has been
                    LLC
                                                                                   resolved
                                                  Total: $100,000.00

                                                  Administrative: $0.00
                                                  Secured: $0.00
                                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
                                                                                   liable because the
77    TECH PLAN INC   Marcus Group   222005       General Unsecured: $596.46
                                                                                   claim has been
                      LLC
                                                                                   resolved
                                                  Total: $596.46

                                                  Administrative: $0.00
                                                  Secured: $0.00
      TECHNOLOGY                                                                   The Debtors are not
                      The Neiman                  Priority: $0.00
      SERVICE                                                                      liable because the
78                    Marcus Group   222007       General Unsecured: $12,878.00
      PROFESSIONAL                                                                 claim has been
                      LLC
      S                                                                            resolved
                                                  Total: $12,878.00




                                                 -11-
      Case 20-33948 Document         Filed in TXSB on 07/06/21 Page 16 of 18



                                      Schedule 1

Ref     Name of                     Schedule        Scheduled Claim to be          Reason for
                     Debtor Name
 #      Claimant                       #                 Disallowed                Objection
                                               Administrative: $0.00
                                               Secured: $0.00
                                                                               The Debtors are not
                     The Neiman                Priority: $0.00
      TELECHECK                                                                liable because the
79                   Marcus Group   222013     General Unsecured: $6,892.95
      SERVICES INC                                                             claim has been
                     LLC
                                                                               resolved
                                               Total: $6,892.95

                                               Administrative: $0.00
                                               Secured: $0.00
                                                                               The Debtors are not
                     The Neiman                Priority: $0.00
      THE BOX                                                                  liable because the
80                   Marcus Group   222028     General Unsecured: $18,341.20
      FACTORY INC                                                              claim has been
                     LLC
                                                                               resolved
                                               Total: $18,341.20

                                               Administrative: $0.00
                                               Secured: $0.00
                                                                               The Debtors are not
                     The Neiman                Priority: $0.00
      THE DALLAS                                                               liable because the
81                   Marcus Group   222037     General Unsecured: $12,500.00
      FOUNDATION                                                               claim has been
                     LLC
                                                                               resolved
                                               Total: $12,500.00

                                               Administrative: $0.00
                                               Secured: $0.00
                                                                               The Debtors are not
      THE MACERICH   The Neiman                Priority: $0.00
                                                                               liable because the
82    PARTNERSHIP    Marcus Group   222050     General Unsecured: $49,725.84
                                                                               claim has been
      LP             LLC
                                                                               resolved
                                               Total: $49,725.84




                                             -12-
Case 20-33948 Document   Filed in TXSB on 07/06/21 Page 17 of 18




                         Schedule 2

                 Adjourned Claim Objections
            Case 20-33948 Document Filed in TXSB on 07/06/21 Page 18 of 18
                                 Schedule 2


Ref     Name of                     Schedule         Scheduled Claim to be           Reason for
                    Debtor Name
 #      Claimant                       #                  Disallowed                 Objection
                                                Administrative: $0.00
                                                Secured: $0.00 Priority:
                                                                                 The Debtors are notliable
                    The Neiman                  $0.00
      MONCLER USA                                                                because the claim has
 1                  Marcus Group   221191       General Unsecured: $639,708.76
      INC                                                                        been resolved
                    LLC
                                                Total: $639,708.76




                                               -1-
